                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                    Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                             PLAINTIFFS’ CONSENT MOTION
                                                FOR EXTENSION OF TIME TO
              Plaintiffs,
                                                RESPOND TO DEFENDANTS’
       v.                                       MOTIONS TO DISMISS THE
                                                AMENDED COMPLAINT
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
              Defendants.



      Plaintiffs Federal Trade Commission and the states of California, Colorado,

Illinois, Indiana, Iowa, Minnesota, Nebraska, Oregon, Tennessee, Texas, Washington,

and Wisconsin, by and through their undersigned attorneys and pursuant to Federal Rule

of Civil Procedure 6(b) and Local Rules 6.1(a) and 7.3(f), respectfully move for an

extension of time of seven days to oppose or otherwise respond to any motion to dismiss

Plaintiffs’ Amended Complaint. Defendants consent to this extension of time.

      In support of this Motion, and showing good cause, Plaintiffs state the following:

      1.     Plaintiffs’ original Complaint was filed on September 29, 2022. (Doc. 1).

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       2.     On December 12, 2022, Defendants Corteva, Inc. and Syngenta Crop

Protection AG, Syngenta Corporation, and Syngenta Crop Protection, LLC filed Motions

to Dismiss the original Complaint. (Doc. 64, 65).

       3.     On December 23, 2022, Plaintiffs filed an Amended Complaint as of right

under Federal Rule of Civil Procedure 15(a)(1)(B). (Doc. 79). The Amended Complaint

moots the Defendants’ pending Motions to Dismiss. (Doc. 64, 65).

       4.     On December 23, 2022, counsel for Defendants consulted with counsel for

Plaintiffs and requested an extension of Defendants’ time to answer, move, or otherwise

respond to the Amended Complaint. Plaintiffs consented to a seven-day extension of

Defendants’ deadline to answer, move, or otherwise respond to the Amended Complaint,

and Defendants consented to a reciprocal extension of seven days for Plaintiffs to oppose

any motions Defendants may file in lieu of answering the Amended Complaint. (Doc. 84

at 2). Defendants have indicated that they intend to file motions to dismiss in response to

the Amended Complaint. (Doc. 84 at 2).

       5.     On December 28, 2022, Defendants moved the Court for an extension of

seven days to answer, move, or otherwise respond to Plaintiffs’ Amended Complaint, up

to and including January 13, 2023. (Doc. 84). On December 28, 2022, the Court entered

an Order granting Defendants’ Motion. See Order (Dec. 28, 2022).

       Therefore, Plaintiffs respectfully move this Court to enter an Order granting

Plaintiffs an extension of seven days to oppose or otherwise respond to any motions to




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dismiss the Amended Complaint that Defendants may file, and such other or further relief

as the Court deems proper and just.

Dated: January 3, 2023                Respectfully submitted,

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